Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 1 of 29

PLAINTIFFS’ EXHIBIT A
TO

MOTION FOR RECUSAL

~ Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 2 of 29

Oo wo NN OD WH & WwW NM

NO ON ON NM NM NM ee BOO RP RP RP FS
Ae wnpeogogeanaihkkhkhE 5|

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
NEW. ORLEANS, LOUISIANA

IN RE: VIOXX PRODUCTS
Liability Litigation

* Docket MDL 1657-L
* October 29, 2009
* 9:00 a.m.

TELEPHONIC MOTION HEARING HELD BEFORE
THE HONORABLE ELDON E. FALLON
UNITED STATES DISTRICT JUDGE

APPEARANCES:

For the Plaintiffs:
(Via telephone)

For the Defendants:

Official Court Reporter:

Law Office of Ronald R. Benjamin
BY: RONALD R. BENJAMIN, ESQ.
126 Riverside Drive

P.O. Box 607

Binghamton, New York 13902-0607

Williams & Connolly, LLP
BY: M. ELAINE HORN, ESQ.
725 Twelfth Street, NW
Washington, D.C. 20005

Jodi Simcox, RMR, FCRR

500 Poydras Street

Room HB-406

New Orleans, Louisiana 70130
(504) 589-7780

Proceedings recorded by mechanical stenography, transcript

produced by computer.

1

JODI SIMCOX, RMR, FCRR - OFFICIAL COURT REPORTER
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Case _2:05-md-01657-EEF-DEK_ Document 28675-5 Filed 12/03/09 Page 3 of 29

Oo oN HM UW BR w Nw fF

NM NM NM NM NR ON BO Be eS BE Pe Rm
“ b&wWN bP Oo Owe Nous EE SE

2

PROCEEDINGS
(October 29, 2009)
(WHEREUPON, the following proceedings were held via

telephone in chambers.)

THE COURT: Hello, this is Judge Falton. Who do I
have on the line?

MR. BENJAMIN: This is Ronald Benjamin, Your Honor.

THE COURT: Okay. Mr. Benjamin, I have everybody
else in the court. I have before me a motion. Actually, it's
what, the third motion to dismiss? Is that --

MS. HORN: That's the title of it, Your Honor, yes.

THE COURT: This case has a long history. On
February 16th, 2005, the multi-district litigation panel
created the multi-district litigation case known as In re:
Vioxx Products Liability case, bearing the number 1657.
Shortly thereafter, thousands of cases were filed and it
appeared that between 50,000 and 100,000 cases would make up
the litigation.

The Court appointed various committees. The
committees began discovering the case. They discovered over
9 million documents. They took nearly a thousand depositions.
This Court had six trials. The state courts had another 10 or
12 trials. After these trials and the discovery, the Court
entertained 1,000 motions of discovery. The cases went into

settlement-discussion mode and a settlement was reached

JODI SIMCOX, RMR, FCRR - OFFICIAL COURT REPORTER
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 4 of 29

Ow ON MO WwW B® WN fF

NNN NN NY BP BP Be BP ep EY

approximately two years and five, six months thereafter.

The case is now being resolved. Most of the
50,000 claimants have been paid. The money has been disbursed.
Several cases have not participated in the settlement. In
2007 -- in November of 2007, this Court entered Pretrial Order
No. 28 requiring the outstanding cases, the cases that had not
settled, to proceed toward trial; and in that direction, it was
necessary that certain documents be produced by the parties.

The Court feit that it was not unreasonable,
since it had been over two years since the case was filed, to
have the cases that were going to be tried to produce certain
information. The information that was requested was various
medical records, various pharmacy records, and also a
preliminary report from a doctor saying that there was a causal
relationship between the consumption of Vioxx and the claimed —
injuries.

Most of the individuals produced that type of
information, or withdrew their claim, or the Court dismissed
their claim. When the documents were not produced, the Court
entertained motions to request the production. Motions
originally were filed, but then they were reset/refiled,
because it was the intent of the Court to give the individuals
an opportunity.

This is the third motion that the Court has
received on this matter. On September 29th, 2009, Merck filed

JODI SIMCOX, RMR, FCRR - OFFICIAL COURT REPORTER
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 5 of 29

oO Oo NN HD wm fF WN HE

NN NN NN FB BP BRB RP RP HB Re
aoe Une SF Bei S GRD GS

4

it's third motion and incorporated memorandum to show cause why
cases should not be dismissed with prejudice for failure to
comply with the requirements of Pretrial Order No. 28. All of
the plaintiffs listed on this particular motion are represented
by the law offices of Ronald Benjamin.

In their motion Merck asserts that these
plaintiffs have failed to comply with discovery requirements of
PTO No. 28, which requires, as I mentioned, all plaintiffs who
choose not to enroll in the settlement program to submit
certain prima facie evidence of usage, injury, and causation.

Specifically, the plaintiffs in these particular
cases were required to submit a plaintiff profile form --
sometimes we call it a plaintiff fact sheet -- anda
case-specific expert report. This report wasn't intended to
comply or satisfy the Daubert rule, but simply to give a prima
facie comment. This would be something that an attorney would
be expected to have when he took the case, or shortly
thereafter, to make sure that the case had merit so he could
comply with Rule 11 of the Federal Rules.

Pharmacy records were also required;
interrogatory responses; outstanding interrogatory responses,
if there be any; all of the medical records; and an affidavit
from the plaintiff. According to Merck, the parties listed jin
Pretrial Order No. 3 were notified of this, that their

submissions were either deficient or nonexistent and

JODI SIMCOX, RMR, FCRR - OFFICIAL COURT REPORTER
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 6 of 29

5
1 || non-received and they were granted a 30-day period to cure.
2 || These 30 days have long passed. Merck now asked that the
3 || claims be dismissed.
4 if On October the 16th, 2009, Mr. Benjamin filed a
5 response to the order to show cause. The Court has received
6 |] the response and studied it; and in his response Mr. Benjamin
7 || asserts that PTO 28 only required him to submit those materials
8 || in his possession at the time that he filled out the plaintiff
9 || profile form, which he did prior to the existence of Pretrial
10 || Order No. 28 in, he says, most cases.
11 Therefore, he claims that the Pretrial Order
12 || No. 28 did not require him to make any additional submissions.
13 |} If Pretrial Order No. 28 did require him to supplement his
14 | previous responses, he asserts that Pretrial Order No. 28 is
15 |] vague and ambiguous and should, therefore, not be enforced.
16 Additionally, Mr. Benjamin takes the position
17 |} that he provided ample information to Merck upon which they
18 || could build a defense, knew what they were going to do, and
19 || that he never ceased to prosecute his claims. They knew where
20 || he was. They knew he was still active. And he was pursuing
21 || his claims with vigor, he says.
22 Further, he points out that he had previously
23 || provided Merck with releases enabling them to obtain medical
24 # records of his clients.
25 And, finally, Mr. Benjamin takes the position

JODI SIMCOX, RMR, FCRR - OFFICIAL COURT REPORTER
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 7 of 29

Oo fo NV OD we F&F Ww N

MM NM NM NM Bh oe BE BE BE Pp BP
mneouonrre =H &BEHEEohRE BRE ™S

that Merck has offered no evidence that they have been
prejudiced in any way by his noncompliance, especially in light
of the fact that these cases are not even scheduled for trial.
In fact, it's not certain whether they're going to be tried in
New Orleans before this. judge or in New York before the same
judge. Accordingly, Mr. Benjamin asserts that the dismissal is
overly harsh and these sanctions are too strict for the action, |
or inaction, that he's assumed.

On October 27th, 2009, Merck filed a response to
Mr. Benjamin's opposition. Merck points out that Pretrial

Order No. 28 was issued almost two full years ago. In fact,

just a couple of days short of two years. At that time

Mr. Benjamin was ordered to respond no later than August the
ist of 2008, more than one year ago.

. Further, Merck argues that this noncompliance jis
consistent with the general pattern of defiance and disregard
for this Court's orders; and, actually, other court orders also
since other courts in New Jersey and elsewhere also required
that this material be submitted, or materials similar to this,
and Mr. Benjamin failed to follow those orders.

In fact, in New Jersey, the court asked him to
leave the court, or certainly not sit with the other attorneys,
since he was not only not in compliance with following court
orders, but he was not in compliance with even making his

appropriate appearance before that particular court.

~JODI SIMCOX, RMR, FCRR - OFFICIAL COURT REPORTER
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 8 of 29

Oo oo NSN HD WH SP WN YN

NN NM NN NY BEB BP PP ep Bp Ep Bp

7

Merck also points out that despite ongoing
communication with Mr. Benjamin, he now argues for the first
time that the pretrial order does not apply to his clients; or,
alternatively, that the pretrial order is, indeed, vague.

Additionally, and finally, Merck argues that
while Pretrial Order 28 did not require the plaintiffs who had
already submitted a plaintiff profile form to submit another
form, it was unambiguous in its requirement regarding
production of records and other documents.

Merck also points out that after receiving
medical releases from the listed plaintiffs, the discovery was
stayed and that they were, therefore, unable to seek the
required medical records. Only plaintiffs could have sought
these records. And, accordingly, according to Merck, the
pretrial order required them to do so.

And, finally, Merck points out that even if the
Court adopts Mr. Benjamin's reading of Pretrial Order 28, the
claims of James Demoski, Timothy Mack and Ann Mannino should
still be dismissed for complete noncompliance.

I'l] hear from the parties, from the movant
first.

MS. HORN: Good morning, Your Honor. This is Elaine
Horn here on behalf of Merck, and you have thoroughly
summarized the background that brings us here today.

And just to hit the high points: On this

JODI SIMCOX, RMR, FCRR - OFFICIAL COURT REPORTER
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 9 of 29

pS
oO

11
12
13
14
15
16
17
18
19
20
21

22

23
24
25

mo oN TD UM Rh WwW NHN

particular motion, these are all ~- the 12 plaintiffs who are

the subject of this motion, they all did submit PTO 28 expert

reports, but they are deficient, and materially deficient, in

some of the other categories of documents that are required to
be produced under PTO 28.

Specifically, at the time that we filed the
motion, we are missing large categories of documents which were
attached to Exhibit A and which were further defined in certain
correspondences that we attached as exhibits.

In response to our motion, we did receive some
additional materials from Mr. Benjamin's office. Specifically,
we received some pharmacy records, I believe for everyone. But
we did not receive any additional medical records other than
medical records that had already been in existence.

And so -- and as to the people who were required
to submit the amended and supplemental profile forms, we did
not get the new profile form either. So as to the 12
plaintiffs, they are still not in material compliance with
PTO 28. And, as you summarized, the reasons we set forth in
our reply -- I won't reiterate them -- but Mr. Benjamin's
interpretation of PTO 28 is not consistent with a fair reading
of the order.

And all people who were subject to PTO 28 were
required to provide all the items in Section II. The one

exception was that if somebody had already submitted a profile

JODI SIMCOX, RMR, FCRR - OFFICIAL COURT REPORTER
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 10 of 29

oO «oO NN MO Ww Be Ww BM fF

NN NN N NM BRB BP PP BP pe Ee
Aeon EOS Ee TAGE DHE S

9

form under PTO 18, there was no need to resubmit a new one.
But other than that, all the documents were required to be
produced; they were not; and at this point in time, a dismissal
1s warranted.

THE COURT: AIl right. Mr. Benjamin, do you have any
response?

MR. BENJAMIN: Yes, Your Honor.

I think I'd like to begin with the fact that it
is virtually impossible to respond to broad conclusory
allegations, such as Your Honor referred to, with regard to
pattern of defiance or disregard, particularly in connection
with referring to the New Jersey courts, where I have not yet
even been admitted.

I do not know what information Merck provided
Your Honor in connection with what transpired in New Jersey,
but there was a motion for me to be admitted pro hac vice, and
that is the only issue. As of today, I have not been admitted.

Your Honor has made reference to the Third
Circuit's decision, which I was not part of, in connection with
the appeal. I would like the Court to be aware of the fact
that I had what I believe remained a legitimate disagreement
with the court on issues that were pending in Fen Phen. Every
one of the clients I represented did quite well at the end of
the day.

I did not willfully disregard or disobey

JODI SIMCOX, RMR, FCRR - OFFICIAL COURT REPORTER
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 11 of 29

Oo Oo N OO uw BR WwW NH Kf

NM NM NON NN FB FR Be EF HM BP HP Ee PE
ane un eB oO oO wemauNaun bo SG

10

anything other than an ongoing disagreement with respect to
expert disclosure; and in this litigation, have made every
effort to comply with every order that this Court has issued in
connection with everything from discovery to appearing when
ordered to appear.

So that, in connection with my own conduct, to
the extent anybody is alleging that I have willfully done
anything wrong, all I have tried to do here is to assure my
clients get their day in court.

I have recommended against the settlement. I
continued to believe that clients can do better. And while I
understand that the Court has a general duty that goes outside
and beyond individual cases, it's still the law that if a
plaintiff wants to proceed, they can.

Now, on the particular motion before the Court,
I think Merck is attempting to turn everything upside down by
suggesting and bringing a motion under Rule 41, failure to
prosecute, when as of March of this year, we have before the
Court remand motions which advises Merck in no uncertain terms
that from the plaintiff's perspective, all generic issues are
complete and that the Court has discretion to remand the
actions and let any additional individual issues be addressed
in the courts in New York.

Now, the last three cases the Court mentioned, |

Mack, Mannino and Demoski, expert disclosure has been provided

JODI SIMCOX, RMR, FCRR - OFFICIAL COURT REPORTER
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 12 of 29

NNN NN NR BBP BP me ep pL

wo co NV MD Uw BP WN NN F&

11

for all three of those cases; expert opinions on causation have
been provided. Merck has more than enough information to
defend those cases, and to defend itself, and to make any
motions that address the merits of those three, and the other
nine that are before the Court.

To the extent that there are disagreements,
Merck asserts in the reply memorandum just received that
somehow PTO 30 stopped them from moving forward on getting
discovery. That is simply not the case. First of all, because
PTO 30 didn't issue until November 9th of 2007. We provided
Merck with authorizations going back to 2005.

So that what Merck is doing right now is trying
to check off boxes, ignoring letters I have written to them
trying to say, let's sit down and tell us what do you need on
the merits that you do not have to properly defend so this case
can either be put in a position where you can make a motion for
summary judgment on the merits if you think you're entitled to
that, or proceed to trial.

As we sit here today, Your Honor, they have all
of the factual information necessary to defend and they are
trying to take a distorted version of PTO 28. Under Merck's
version, the fact sheets that we filled out in state court that
provided virtually identical information somehow are irrelevant
and that we have to then go do everything all over again, I do

not think that is the intent of PTO 28.

JODI SIMCOX, RMR, FCRR - OFFICIAL COURT REPORTER
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 13 of 29

po ON OD UM BP WwW NH

NM NM NN NM NOM BO RB Ee eS
nae wNH ee OC OkBA RE FE RES

i D

And I would ask, Your Honor, regardless -- what
the motion before the Court is whether or not we somehow failed
to prosecute. We have been doing everything we can. Merck's
counsel simply ignores any calls I make, any letters that I
write, trying to get to the merits, asking them, what exactly
do you need, we are willing to give you whatever information

you want.

But when you turn around and take -- when Merck

turns around and takes the position, you have to give us every
piece of information about every health care provider the
plaintiff has ever seen since 1995, Merck may be entitled to
pursue a leave-no-rock-unturned strategy, but it would have to
do that at its own expense.

The relevant medical information that exists and
has to do with this case pertains to the cardiovascular
consequences that the plaintiff sustained. To ask for every
single health care provider is something that is unreasonable
and done for the sole purpose of driving up litigation costs.

So I would ask, Your Honor, in view of the

drastic remedy that they're seeking here, namely dismissal, to

ask Merck to get to the merits, acknowledge they have more than
enough information from every plaintiff in this -- that's part
of this motion to defend itself, and to actually make a motion

on the merits.

If there is specific information that they feel

~JODI SIMCOX, RMR, FCRR - OFFICIAL COURT REPORTER
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09_ Page 14 of 29

oOo wo w~N DH ww BP Ww P&S

NON NM NM ON N SE FP RP FP FP fF FF FF
hm ROBONPSOERAR GE EBHRE S

13

we did not provide and that's a legitimate position, I will
provide it. But I think they have what they need, or we
certainly should be given an opportunity to supplement that.
But right now they won't even talk to us. Merck's counsel will
have no discussion on the merits. When I try to find out, what
exactly do you need to prosecute or defend or to bring on a
motion for summary judgment, I don't get anything. TI get
something back that checks off boxes.

THE COURT: Okay. Let me hear --

MR. BENJAMIN: What I would urge the Court, try to
get to the merits, Tet us provide what they substantively need,
and let us move to a trial.

THE COURT: All right. Let me hear a response.

MS. HORN: In terms of informing Mr. Benjamin as to
what exactly that we need, on May 12th we sent a very detailed
letter setting out exactly what we were missing and what we did
need.

To the extent that we're talking about material
deficiencies, we do have an exhibit, it was attached to our
original motion, and just to highlight, for some of these
people, we received no records. No medical records at all,
or -- and at the time we filed the motion, no pharmacy records.
But that has -- we have received some pharmacy records.

But, for instance, for Mr. Scott Berthel, we

received medical records for one provider. For Marjorie

JODI SIMCOX, RMR, FCRR - OFFICIAL COURT REPORTER
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09_ Page 15 of 29

woo nN OO uw Se Ww NM

me NM NM MB NM ND ek ORE SE ORE SE BE RR
ST ROneBP SERRE BEER EE

14

Curtis, we received four pages of medical records. For James
Demoski, we received records from two providers. For Maurice
Hoyt, we received one page of record. For Mary Kurtz, we
received no records. For Ann Mannino, we received no records.
For Viola Santacrose, we received some bills, but no records.
And for Frank Spencer, we received no records.

Clearly, we cannot prosecute cases on the basis
of no medical records whatsoever.

And as to the issue of PTO -- I'm sorry Rule 41,
T'm not quite certain how we got to that particular point, but
we are actually bringing this motion under PTO 28, and there
are enforcement mechanisms that are written into the order
itself, and that's the basis of the motion.

THE COURT: Mr. Benjamin, this is not the first
motion that we've had in this case regarding your situation,
I've instructed you on several occasions to file material in
response to the motion and you haven't done so.

MR. BENJAMIN: That is not correct, Your Honor.

THE COURT: Well, okay.

MR. BENJAMIN: This is the first motion.

THE COURT: Well, this is the third motion that --

MR. BENJAMIN: It's their third motion because they
keep withdrawing. This is the first time I have been before
Your Honor on a motion with regard to discovery brought by

Merck.

JODI SIMCOX, RMR, FCRR - OFFICIAL COURT REPORTER
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

wo oN DW WwW B&B WwW DN fp

Ny NOM NM NM NM BP BE ES FP PF FEF KF ES +
A PWN PP OCBOanaiuikekeEeE ESE

. Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 16 of 29

15

THE COURT: All right. This is what I'm going to do,
Mr. Benjamin: I'm going to give you three weeks to comply with
it; if you don't comply with it, then you need to know that I'm
going to dismiss the cases. So three weeks from today, comply
with it.

MR. BENJAMIN: Your Honor, could I be heard for a
moment?

THE COURT: Yes. All right.

MR. BENJAMIN: In order for me to comply, I need to

know what is not being complied with. I have complied. They

have authorizations for every plaintiff. They've had those

authorizations for years.

If Your Honor is asking me to provide them with
medical records for every health care provider from 1995 until
today, and absent providing and complying with that, then the
actions are to be dismissed, I respectfully submit that that ts
such a broad request, 1t 1s an abuse of discretion to even
Suggest any plaintiff has to comply with that.

So I'm willing to provide on the merits whatever
relevant information is provided. I would ask Your Honor to
require both sides to meet and provide the Court with a written
statement of what is or is not being provided, rather than have
me guess.

Because if I've already given them an expert

disclosure in which my expert has opined the particular

JODI SIMCOX, RMR, FCRR - OFFICIAL COURT REPORTER
' UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

sO -86mn 7 Gu Fda, OO uA=@O mAoEY 72DO BMY

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 17 of 29

o oOo nN OO WV SP WS NM PR

Me NM NM NM NM NM eS SE EF RP FP FF FF PF -
ap OWN PO wBe Nauk & HEE’

16

condition for which we are suing, then it seems to me they have
everything they need.
Secondly, I would ask Your Honor, because I do
want to make a good faith effort to fully comply, to give us 60
days. If I'm out of compliance on certain things they really
need, I want to get them. I want to make sure that Merck has
everything they're entitled to. I do not want to be out of
compliance with any order issued by the Court.
THE COURT: Yes, I got it. Yes, I got it,
Mr. Benjamin. I think you're right about the meet and confer.
I'm going to give you-all a week, and instruct Merck to meet
with Mr. Benjamin within a week; and then give me an affidavit
from each side as to what you complied with; what you haven't
complied; if you haven't complied, why; and then I'll rule on
whatever the motion jis.
I'll give you both 30 days to do that. Instead
of three weeks, I'll make it 30 days.
MR. BENJAMIN: That would work for us, Your Honor. I
appreciate that.
THE COURT: All right. Thank you, Mr. Benjamin.
Good-bye,
MR. BENJAMIN: Bye-bye.
(WHEREUPON, the proceedings were concluded.)

JODI SIMCOX, RMR, FCRR - OFFICIAL COURT REPORTER
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 18 of 29

mo Oo NN OD uw & Ww NH fH

NB BP BP BP BP ep ep Ep
Ob me N aaa WH! S&S

17

ate ahs ale Fe ade
+e ae th oe ae

CERTIFICATE
I, Jodi Simcox, RMR, FCRR, Official Court Reporter

for the United States District Court, Eastern District of
Louisiana, do hereby certify that the foregoing is a true and
correct transcript, to the best of my ability and
understanding, from the record of the proceedings in the

above-entitled and numbered matter.

S/ Jodi Simcox, RMR, FCRR _
Jodi Simcox, RMR, FCRR

Official Court Reporter

JODI SIMCOX, RMR, FCRR - OFFICIAL COURT REPORTER
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Case 2:05-md-01657-EEF-DEK: Document 28675-5 Filed 12/03/09 Page 19 of 29

PLAINTIFFS’ EXHIBIT B
TO |

MOTION FOR RECUSAL

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 20 of 29

No. 09-30446

IN THE UNITED STATES COURT OF APPEALS
FOR THE FIFTH CIRCUIT

Inre: VIOXX PRODUCTS ) In the Court Below:
LIABILITY LITIGATION ) United States District Court for the
. ) Eastern District Of Louisiana
This document relates to: ) oe
) MDL NO. 1657
Glenn L. Dier et al., )
} HON. ELDON E, FALLON
Appellants, )
)
v. )
)
Merck & Co., Inc., )
)
Appellee. )
BRIEF OF APPELLEE
Phillip A. Wittmann, 13625 John H. Beisner
Dorothy H. Wimberly, 18509 Jessica D. Miller
STONE PIGMAN WALTHER Geoffrey M. Wyatt
WITTMANN L.L.C. SKADDEN, ARPS, SLATE,
546 Carondelet Street MEAGHER & FLOM LLP
New Orleans, Louisiana 70130 1440 New York Avenue N.W.
Telephone: (504) 581-3200 Washington, D.C. 20005
Fax: (504) 581-3361 Telephone: (202) 371-7000

E-mail: pwittmann@stonepigman.com Facsimile: (202) 393-5760
E-mail: john. beisner@skadden.com

Douglas Marvin

WILLIAMS & CONNOLLY LLP
Washington, D.C. 20005
Telephone: (202) 434-5000

Fax: (202) 434-5029

E-mail: dmarvin(@wc.com

' Attorneys for Merck & Co., Inc.

996048v.1

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 21 of 29

earlier stage before any discovery had taken place since little was known about the
structure, nature and effect of Vioxx by anyone other than perhaps the
manufacturer of the drug.” Jn re Vioxx, 557 F. Supp. 2d at 744. But after more
than three years of litigation, “it is reasonable to require Plaintiffs to come forward
and show the basis for their beliefs and show some kind of basic evidence of
specific causation.” Jd. Appellants’ own authority agrees with this view, arguing
that the principal defect of Lone Pine orders is that they are too often used at a
preliminary stage of the litigation. See Simeone v. Girard City Bd. of Educ., 872
N.E.2d 344, 351 (Ohio Ct. App. 2007) (holding that “issuance of the “Lone Pine’
order at the stage in the proceedings where there had yet to be any meaningful
discovery, followed by the dismissal of the case with prejudice for failure to
comply with the order, was an abuse of discretion in this case”).*

The discovery requirements set forth in PTOs 28 and 29 were carefully
calibrated to the present phase of the Vioxx litigation. The litigation is no longer
in its “embryonic” stage, 557 F. Supp. 2d at 744, and appellants are thus correct
that Merck and the district court are generally aware of the injuries claimed and
conduct alleged. But PTOs 28 and 29 do not require disclosure of general or

preliminary theories of causation. Rather, the PTOs require all plaintiffs to

8 Appellants block-quote Simeone on page 39 of their brief, though they

accidentally attribute the quotation to a student note in the Journal of Land-Use &
Environmental Law.

39

996048v.1

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 22 of 29

produce what experience has shown to be indispensable to trial — expert evidence
that Vioxx actually caused the plaintiff's injury. Specific causation evidence ts
highly fact-bound, and neither Merck nor the court would have any way of
knowing the-details of a particular plaintiff's case without the opportunity to
review such evidence. Given the indispensability of specific causation evidence to
a viable claim, the relative burden placed on plaintiffs by PTOs 28 and 29 is
negligible.’

In comparison to this modest discovery burden, Merck has shouldered
substantial discovery obligations throughout the litigation. As the district court
observed, “Merck has produced over 22 million pages of documents,” and “[flor
nearly a decade, Plaintiffs’ counsel throughout the country have been studying,
exploring, and discovering all of the effects of Vioxx on the human body .... All of
this material is and has been available to counsel in the individual cases.” Thus,
while appellants complain that the temporary stay effected by PTO 30 has left
them “frozen in their tracks” (Appellants’ Br. 26), their contention that discovery

obligations have been one-sided in favor of Merck cannot be taken seriously.

° In light of the fact that appellants would inevitably have needed to produce
such expert reports if they really wanted to proceed to trial, their complaint that
PTOs 28 and 29 “unnecessarily drive up the litigation costs of non-settling
plaintiffs” is net compelling. (Appellants’ Br. 22-23.)

40

996048v. 1

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 23 of 29

PLAINTIFFS’ EXHIBIT C
TO

MOTION FOR RECUSAL

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 24 of 29

Case 2:05-md-01657-EEF-DEK Document 26353 Filed 10/30/2009 Page 1 of 4

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

MDL NO. 1657
IN RE: VIOXX :
PRODUCTS LIABILITY LITIGATION : SECTION: L
JUDGE FALLON
MAG. JUDGE KNOWLES
THIS DOCUMENT RELATES TO: Cases listed on Exhibit A

ORDER

On October 29, 2009, Defendant Merck & Co., Inc.’s Third Motion, Rule and
Incorporated Memorandum to Show Cause Why Cases Should Not Be Dismissed With Prejudice
For Failure to Comply With Requirements of PTO 28 (Rec. Doc. 24338) came on for hearing
with oral argument. For the reasons orally assigned, that motion is DENIED.

As discussed at oral argument, IT 1S ORDERED that, on or before November 6, 2009,
Mr. Benjamin shall meet and confer with counsel for Merck in order to determine how his
submissions have failed to comply with the requirements of PTO 28 and to identify what must be
produced to achieve compliance. This meet and confer may be conducted by telephone if the
parties can agree that a telephone conference is appropriate.

IT IS FURTHER ORDERED that Mr. Benjamin shall produce the materials identified at
this meet and confer to Merck on or before December 7, 2009. Thereafter, the parties shall
submit affidavits attesting to Mr. Benjamin’s compliance no later than December 13, 2009. If

the Court finds that Mr. Benjamin has still failed to comply at that time, than the cases listed on

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 25 of 29

Case 2:05-md-01657-EEF-DEK Document 26353 Filed 10/30/2009 Page 2of4

Exhibit A shall be dismissed with prejudice.

New Orleans, Louisiana, this 30th day of October, 2009.

Fh, C Selle

UNITED STATES DISTRICT JUDGE

Case 2:05-md-01657-EEF-DEK

Document 28675-5 Filed 12/03/09 Page 26 of 29

Case 2:05-md-01657-EEF-DEK Document 26353 Filed 10/30/2009 Page 3 of 4
Exhibit A
Third Motion
Plaintiff Short Docket | Pharm. | Medical | Affidavit of Other
Caption Number | Records | Records | Completeness | Deficiency
David Agard | Agard, David | 2:05-cv- | None Partial None
v. Merck & 01089-
Co., Inc. EEF-
DEK
Scott Berthel | Gates, Robert | 2:05-cv- | None One None
D. v. Merck 06221- provider
EEF-
DEK
Richard Core | Core, Richard | 2:05- None Partial None
F, v. Merck & | 02583-
Co., Inc. EEF-
DEK
Marjorie Connolly, 2:06-cv- | None 4pages | None
Curtis Marjorie v. 02708-
Merck & Co., | EEF-
Inc. DEK.
James Agard, David ; 2:05-cv- | None Two None Amended &
Demoski v. Merck & 01089- provider Supplemental
Co., Inc. EEF- s PPF
DEK
Kristine Hia_ | Connolly, 2:06-cv- | None Partial | None
Marjorie v. 02708-
Merck & Co., | EEF-
Inc. DEK
Maurice Hoyt | Connolly, 2:06-cv- | None l page | None
Marjorie v. 2708
Merck & Co.,
Inc.
Mary Kurtz Mary Kurtz v. | 2:06-cv- | None None None
Merck & Co., | 05779-
Inc. EEF-
DEK
Timothy Dier, Glenn L. | 2:05-cv- | None Partial | None Amended &
Mack v. Merck & 01088- Supplemental
Co., Inc. EEF- PPF
DEK

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09

Page 27 of 29

Case 2:05-md-01657-EEF-DEK Document 26353 Filed 10/30/2009 Page 4 of 4
10. | Ann Mannino | Holobosky, 2:05-cv- | None None None Amended &
Rosemary v. | 01091- Supplemental
Merck & Co., | EEF- PPF
Inc. DEK
11. | Viola Aljibory 2:05-cv- | None Partial None
Santacrose Adnan v. 01090- (all bills,
Merck & Co. | EEF- no
Inc. DEK medical
records)
12. | Frank Spencer | Dufresne, 2:08-cv- | None None None PPF or
Lori v. Merck | 3220- Amended &
& Co., Inc. EEF- Supplemental
DEK PPF;
Statement of
Allegation
regarding
death

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 28 of 29

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: VIOXX® MDL Docket No. 1657

PRODUCTS LIABILITY LITIGATION SECTION L

Judge Eldon E. Fallon
Magistrate Judge Knowles

THIS DOCUMENT RELATES TO
PLAINTIFFS LISTED IN EXHIBIT A TO
MERCK “THIRD” MOTION TO DISMISS:

Agard, et al., v. Merck & Co. [David Agard, Case No.: 2:05-cv-01089
James Demoski]

Aljibory, et al., v. Merck & Co. [Viola Santacrose] Case No.: 2:05-cv-01090

Cavallo, et al., v. Merck & Co. [Matthew Cavallo] Case No.: 2:05-cv-01513

Core, et al. v. Merck & Co. [Richard Core] Case No.: 2:05-cv-02583

Gates, et al., v. Merck & Co. [Scott Berthel] Case No.: 2:05-cv-06221

Connolly, et al., v. Merck & Co. [Majorie Curtis, Case No.: 2:06-cv-02708
Kristine Hia, and Maurice Hoyt]

Kurtz v. Merck & Co. [Mary Kurtz] Case No.: 2:06-cv-05779
Dier, et al., v. Merck & Co. [Timothy Mack] Case No.: 2:05-cv-01088
Holobosky, et al, v. Merck & Co. [Ann Mannino] Case No.: 2:05-cv-01091
Dufresne v. Merck & Co., [Frank Spencer] Case No,: 2:08-cv-03220

CERTIFICATE OF SERVICE

Thereby certify that on December 3, 2009, the above and foregoing Notice of Hearing,
Plaintiff's Motion for Recusal of This Court, Plaintiff's Memorandum of Law in Support of
Their Motion for Recusal of this Court and Proposed Order, has been served on Liaison Counsel,
Philip Wittmann and Russ Herman, by U.S. Mail and email and upon all parties by
electronically uploading the same to LexisNexis File & Serve in accordance with Pretrial Order
No. 8(B), and that the foregoing was electronicaliy filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF system which

Case 2:05-md-01657-EEF-DEK Document 28675-5 Filed 12/03/09 Page 29 of 29

will send a Notice of Electronic Filing in accord with the procedures established in MDL 1657.

Dated: December 3, 2009
Binghamton, New York

/s/ Ronald R. Benjamin

Ronald R. Benjamin, Fed Bar Roll No.: 101131
Law Office of Ronald R. Benjamin

126 Riverside Drive, PO Box 607

Binghamton, New York 13902-0607

Phone: (607) 772-1442

Facsimile: (607) 772-1678
ronbenjaminlaw@stny.11.com

Attorney for Plaintiffs

